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                                  UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS


In re : PHARMACEUTICAL INDUSTRY                                                   }        MDL No. 1456
AVERAGE WHOLESALE PRICE LITIGATION                                                         Master File No. 01- 12257-PBS
                                                                                           Subcategory Case. No. 06-11337



THIS DOCUMENT RELATES TO:                                                         )        Hon. Patti B. Saris

                                                                                           Magistrate Judge
United States of America ex rel. i`en-A-Care of the                               )
                                                                                           Marianne B. Bowler
Florida Keys, Inc., et al. v. Dey, Inc., et al.,                                  )
Civil Action No. 05-11084-PBS                                                     )


             DEFENDANTS DEY, INC., DEY, L.P., AND DEY L.P., INC.'S
           SUR-REPLY MEMORANDUM OF LAW IN OPPOSITION TO THE
          UNITED STATES' MOTION TO CONSOLIDATE CASES FOR TRIAL

        Faced with the prospect of trial, the DOJ has determined that consolidation of the Dey

ActionI and the Roxane Action best serves its own interests. By focusing only on its own

affirmative case, the DOJ incorrectly claims that consolidation is warranted here. By promoting

a legal causation theory that has already been rejected by this Court, it also attempts to tip the

scales in favor of consolidation. Both of these arguments should be rejected, and this Court

should decline to combine the two separate actions against Dey and Roxane.

1.      CONSOLIDATION IS NOT WARRANTED BECAUSE IT WILL NOT SERVE
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        Consolidation will cause demonstrable prejudice and juror confusion. The DOJ ignores

the realities of a joint trial in which the DOJ would have to present its affirmative cases against

both Dey and Roxane and in which Dey and Roxane would have to present their own defensive

cu^t,211. The DOJ claims that "there is no reason to think that the evidence will vary ^P_,nilicantlV


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       De,.  (.?E,i, ,iIi,ui to the Unjud                 lotion to                                               V,, 6635)
       ("Oppk"Ition ),
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depending on the type of drug at issue", that the Dey Action and the Roxane Action involve

"essentially identical evidence," and that consolidation is warranted "despite minor evidentiary

differences." (Dkt. 6660 at 2-3, 5). This is simply not true. When this Courtc\amined evidence

in the MDL trial, it was not the general type of evidence the DOJ seems to want to offer but

rather "company by company, but drug by drug, NDC by NDC, and even - and year by year"

evidence. (MDL Transcript 7%3/07, at 22;15-21, previously attached as Ex. E to Dkt. 6635).

This level of specificity, resulting in a large amount of Dey-specific and Roxane-specific

evidence, will be needed here as well, and will only cause demonstrable confusion and prejudice

were it presented in a joint trial. The risk of prejudice and confusion is not speculative, but is

one that has already been found to exist by this Court and others that have dealt with AWP cases.

(See Dey's Opposition, Dkt. 6635 at 7-8). Rather than address those courts, including this one,

that have held that confusion and prejudice is a real concern in AWP cases, the DOJ relies on a

series of primarily securities cases in arguing for consolidation. (Dkt. 6660 at 4-5). Such cases

are inapposite here.

        The DOJ insists that despite this Court's prior holdings, it does not plan to present

"twelve different presentations relating to the marketing history of every drug" to a jury. (Dkt.

6660 at 3). Regardless of how the DOJ chooses to present its affirmative case, following the

rubric established by this Court, it will be necessary for Dey and for Roxane to present unique

drug and NDC level evidence in order to present their sides of the case. For example, the

examination of Dey's albuterol at trial will involve, at a minimum, presentation of the following

evidence: (1) Dey's pricing of albuterol products; (2) Dey's naarkciln,, of these products; (3) the

p cc at which the DOJ contends should have been the ingredient cost oI'Lilbtucr^^l ; (4) Medicare

^u rig , fiern four Dill _I:(`s from 1992 to 2003, ( 5) pricing of albuterol in , m ,2 47 ^,tatc< 11ndcL
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Medicaid from 1992 to the present; (6) the Government's knowledge about the price of albuterol,

including but not limited to the setting and removal of FULs for albuterol, revised DOJ AWPs

for Dey's albuterol, the Congressional refusal to allow CMS to use inherent reasonableness

authority to decrease the ingredient cost of albuterol, the numerous OIG reports regarding

albuterol, the Dey invoices and other prices the Government had for Dey's albuterol, the cost of

dispensing albuterol, access to albuterol within the Medicaid and Medicare programs, state

MACS for albuterol, and other witness testimony, including expert witness testimony, regarding

albuterol. This presentation will have nothing to do with Roxane or Roxane's drugs. Yet, in a

consolidated trial, the jury will need to hear all of this information as well as similar information

for the 12 other drugs at issue in the Dey and Roxane trials. Even the presentation of evidence

on ipratropium will not be streamlined, as evidence of Roxane's entry as the first generic

following the brand and its price reporting will be substantially different from Dey's subsequent

introduction of its BAC-free ipratropium products and its marketing, price reporting, and

ultimate price erosion. The other differences set forth in Dey's opposition also weigh in favor of

separate trials. (Den's Opposition, Dkt. 6635 at 2-6). This type of necessary evidence will add

months to a lengthy trial and will require a jury to separate evidence while the DOJ attempts to

conflate the two companies and their numerous drugs and NDCs.

       Nor can juror confusion and prejudice be remedied by "presenting the evidence against

each defendant sequentially, and giving cautionary jury instructions" a,               by the DOJ.

      6660 at 3). The breadth of evidence that will be accessary to support the DOJ's affirmative

Ca,c, against Dey and Roxane as well as Dey and Rzal1^ defensive presentations is such that

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    )Ossible j ury instructions would be as complicated as the tri^il il,:'ll; .^c,)   I+   uinc>>' v. H.

Currnc ill Trenholm State Tech. Coll., No. 2:06 cv 49-ID, 2007 Wf
                                                                a 1140423, at 14 { V.D. Ala.
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   r. 17. 2007) ('court disagrees that pNN cn K c measures. such as cautionar-, jury instruction

can sufficknd\ alW hue the potential of Iurv confusion or prejudice. and denies consolidation).

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        In 1 Asc (Maims :pct cases. the pertinent question is whether Ucv indiv iduaIIy earrsed

injure. INC UOI's --joint impact" ihcorv should w form the basis of consolidation. The IJOJ

aTLucs that its thcor\ necessitates a con,sohdatcd 16a                                (DU 666) at 51 Ho" cN ck to gvNioQ

rcc0g)ni cd h^ this Court, "[u]se of a joint and scy oral liability theta does not require that all

torticasors are joined in the action.' In rc Phai-m. Indio. .lrcragc[17rc^Icszrlc PiJcc Lilig., 491 F.

Sapp. 2d 20. 100 at n. 79 (D. Ms. 2OU71 Ilic DOYs unprovca Lgal thcor) is no catist: for

consolidation. especially because this Court has acknow1cchaed that "I struggled with [this joint

issue in the MILL class action suit], and there were no good cases on this." October 20, 2009

ll"Kn`a Tr. tit 27:21-22.3 In the NUM class action. this Court firrnl} rejected the DOYs theory in

Track 1, in which it held: "[gliv cn that there are no claims or evidence of conspiracy or joint

enterprise, the pertinent legal question is whether [a defendant] can be said to ha%c ili(liridually

caused the plaintiffs` injuries." In re IS= Indu .Q 0 holc.^olc Price Ling.. 491 1". Supp. 2d

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       Rather than weighing in WN or of consolidation, the DOT-s joint thco r^ \vci^-,hs a,,2ainst it.


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down to a penny, and it doesn't change the outcome, the median calculation." October 20, 2009

Hearing Tr. at 25:2-4. By trying Dey and Roxane together because they have both been sued,

despite never having alleged any claims of conspiracy or joint action between the two

manufacturers, the DOJ attempts to create inferences where there is no evidence. Under the

DOJ's theory, the DOJ's trial strategy and determination of which manufacturers to sue, rather

than Dey's actions, assigns greater damages to Dey, despite the fact that the DOJ concedes Dey

has not caused all of the DOJ's claimed damages. This Court should not allow the DOJ to create

liability where there is none through the use of a consolidated trial.

III.    THE DOJ'S PROPOSED "MEDICARE" TRIAL WILL NEITHER SAVE TIME
        NOR PREVENT CONFUSION

        The DOJ's proposal to hold a consolidated trial in two phases before a single jury with

the Medicare portion followed by the Medicaid portion will not reduce any confusion or

prejudice, and will only lengthen and complicate trial. Were the proposal followed, the DOJ

would presumably present elements of its causes of action as to the drugs at issue in Medicare

but not Medicaid, as it admits that "Medicare case involves substantially fewer drugs" (Dkt.

6660 at 9). Then, for the Medicaid portion of the trial, the Government would present the same

arguments as to its case-in-chief as to the remaining drugs at issue in its Medicaid case. Nor will

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one AWP and AMP per drug, and therefore CMS' knowledge regarding AWP and AMP is

CMS' knowledge for both Medicaid and Medicare, regardless of the program from which it was

obtained. In Dey's case, there is also a reported WAC. Therefore, the testimony of CMS and

OIG             would need to be ^^r^^entcd in both the Medicare and Medicaid portions of the

trial, or, at a minimum, all of the evidence of government knowledge would         to be called

twice and presented at the Medicare portion of the trial, which is clear] undcc,Irable, and even




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approach and sI)mlld hc rejected by this Court in fav or oC separate trials for Dev and liar Rovanc.

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sides. Trial \v ill he nRwh more streamlined. and accordingly shorter. Qtli Icss likelihood of jury

exhaustion or conksion. T finder all these circumstanccs. and for the reasons stated in Key's

ohposin" bricl_ Roxarne's opposing hrict. and Roxands sur-vMN. this Court should do" the

DW's motion to consolidate.

Datcd: Decemher 8. 2009

                                                   RQspectfully Submitted,

                                                   KI -I LLY DRYS & WARIZI:N LLP

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                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was delivered to all counsel of
record by electronic service pursuant to Paragraph 11 of Case Management Order No. 2, by
causing to be sent, on December 8, 2009, a copy to LexisNexis File & Serve for posting and
notification to all parties.



                                                        !s1 Sarah L. Reid
                                                            Sarah L. Reid
